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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
KEITH STANSELL, et al.,                                       :
                                    Claimants,                :
         -against-                                            :   16 Misc. 405 (LGS) (SN)
                                                              :
REVOLUTIONARY ARMED FORCES OF                                 :
COLOMBIA (FARC), et al.,                                      :
                                    Defendants.               :
--------------------------------------------------------------X
--------------------------------------------------------------X
OLIVIA PESCATORE, et al.,                                     :
                                    Claimants,                :
         -against-                                            :   18 Misc. 545 (LGS) (SN)
                                                              :
JUVENAL OVIDIO RICARDO PALMERA                                :
PINEDA, et al.,                                               :
                                    Defendants.               :
--------------------------------------------------------------X

                                 FINAL JUDGMENT
                      ON CLAIMANTS’ INTERPLEADER CROSSCLAIMS

LORNA G. SCHOFIELD, District Judge:

        Pursuant to the Court’s December 21, 2022 Opinion and Order [Docket Number 497]

adopting in full the March 29, 2022 Report and Recommendations of Magistrate Judge Sarah

Netburn [Docket Number 443], and pursuant to Fed. R. Civ. P. 12(c), the following Declaratory

Judgment is hereby ORDERED AND ADJUDGED:

        1.       Treble damages awarded under the Antiterrorism Act (“ATA”), 18 U.S.C. §

2333(a) are compensatory damages because they are remedial in nature, and function, in essence,

as a form of liquidated damages.

        2.        The full $318,030,000 award of the Stansell judgment is for compensatory

damages fully collectible under TRIA. The full $69,000,000 award of the Pescatore judgment is

for compensatory damages fully collectible under TRIA.
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       3.        Caballero is entitled to collect both the economic and non-economic

compensatory damages awarded in his ATA judgment, which amounts were trebled, and such

trebled amounts are compensatory damages fully collectible under TRIA per paragraph 1 above.

       4.      Caballero holds a valid ATA judgment that is not void as a matter of law for lack

of subject matter jurisdiction or personal jurisdiction.

       5.      JUDGMENT is hereby entered in favor of the STANSELL/PESCATORE

claimants and against claimant ANTONIO CABALLERO on Caballero’s interpleader crossclaims

[Docket Numbers 261, 262, 263, 264, 301, 335 and 376].

       6.      JUDGMENT is hereby entered in favor of Claimant ANTONIO CABALLERO and

against the STANSELL/PESCATORE Claimants on the STANSELL/PESCATORE interpleader

crossclaims [Docket Numbers 268, 269, 270, 271, 272, 273, 310 a nd 328].

       7.      In light of the foregoing Judgments, the omnibus motion filed by the

STANSELL/PESCATORE Claimants [Docket Number 330] and the motion filed by the

CABALLERO Claimant [Docket Number 348], on their respective interpleader crossclaims, are

hereby DENIED AS MOOT.
          anuary 6, 2023
Dated: _J____________
New York, New York
                                                       __________________________
                                                       LORNA G. SCHOFIELD
                                                       UNITED STATES DISTRICT JUDGE
